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                                  UNITED STATES DISTRICT COURT
14                               NORTHERN DISTRICT OF CALIFORNIA
15                                    SAN FRANCISCO DIVISION
16   NATIONAL TPS ALLIANCE, MARIELA                 Case No. 25-cv-1766
     GONZÁLEZ, FREDDY JOSE ARAPE
17   RIVAS, M.H., CECILIA DANIELA                   PLAINTIFFS’ NOTICE OF MOTION AND
     GONZÁLEZ HERRERA, ALBA CECILIA                 MOTION TO PRESERVE STATUS AND
18   PURICA HERNÁNDEZ, E.R., HENDRINA               RIGHTS UNDER SECTION 705;
     VIVAS CASTILLO, A.C.A., SHERIKA                MEMORANDUM OF POINTS AND
19   BLANC, VILES DORSAINVIL, and G.S.,             AUTHORITIES IN
20                                                  SUPPORT THEREOF
                   Plaintiffs,                      Date:    TBD
21                                                  Time:    TBD
            v.
22                                                  Place:   TBD
     KRISTI NOEM, in her official capacity as
     Secretary of Homeland Security, UNITED
23   STATES DEPARTMENT OF HOMELAND
     SECURITY, and UNITED STATES OF
24   AMERICA,
25                 Defendants.
26

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        PLAINTIFFS’ NOTICE OF MOT. & MOT. TO PRESERVE STATUS AND RIGHTS UNDER SECTION 705
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        PLAINTIFFS’ NOTICE OF MOT. & MOT. TO PRESERVE STATUS AND RIGHTS UNDER SECTION 705
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1        NOTICE OF MOTION AND MOTION TO PRESERVE STATUS AND RIGHTS UNDER

2                                                SECTION 705

3            PLEASE TAKE NOTICE THAT, on May 29, 2025, or as soon thereafter as this matter may

4    be heard before the district court judge of the United States District Court for the Northern District

5    of California, located at 450 Golden Gate Avenue, San Francisco, CA 94102, assigned to this matter,

6    Plaintiffs move under 5 U.S.C. § 705 of the Administrative Procedure Act (“APA”) to “preserve

7    status or rights pending conclusion of the review proceedings.” Specifically, Plaintiffs seek an order

8    preserving the status or rights of individuals who received “EADs, Forms I-797, Notices of Action,

9    and Forms I-94 issued with October 2, 2026 expiration dates.” 1 See Ex. A.

10           Plaintiffs met and conferred with Defendants regarding this Motion on May 21, 2025.

11   Defendants stated that DHS is reviewing the Supreme Court’s order and has no position to provide at

12   this time. The Parties have agreed that Defendants will file their opposition on Wednesday, May 28,

13   2025 by 9 am PST. Plaintiffs request that this Motion be heard at the May 29, 2025 status

14   conference. Defendants oppose that request.

15           To prevent irreparable harm, and because many TPS holders who possess the documents

16   identified by the Supreme Court could otherwise lose their employment and be subject to imminent

17   detention and deportation, Plaintiffs request that the Court act as soon as possible to preserve the

18   status and rights of those individuals until such time as the Court can resolve whether the orders

19   challenged in this case are unlawful. The preservation of the status and rights of these individuals

20   comports with the Supreme Court’s ruling of May 19, 2025, which recognized the possibility that

21   such individuals could have claims warranting interim relief and appeared to invite a “challenge” on

22   that basis. Id.

23           This Motion is based upon this Notice of Motion and Motion; the accompanying

24   Memorandum of Points and Authorities; the supporting declarations and evidence filed concurrently

25   herewith; all prior pleadings and filings in this case; any additional matter of which the Court may

26
     1
27     Plaintiffs also include in this motion Venezuelan TPS holders who received I-797 forms extending
     their employment authorization documents by 540 days, which is through September 24, 2026, for
28   reasons explained below.
                                                   i
          PLAINTIFFS’ NOTICE OF MOT. & MOT. TO PRESERVE STATUS AND RIGHTS UNDER SECTION 705
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 1   take judicial notice; and such further evidence or argument as may be presented before, at, or after

 2   the hearing.

 3

 4    Date: May 21, 2025                                  Respectfully submitted,
 5
                                                          ACLU FOUNDATION
 6                                                        OF NORTHERN CALIFORNIA

 7                                                         /s/ Emilou MacLean
                                                          Emilou MacLean
 8

 9                                                        Michelle (Minju) Y. Cho
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10                                                        ACLU FOUNDATION
                                                          OF NORTHERN CALIFORNIA
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18                                                        NETWORK
19                                                        Erik Crew (Pro Hac Vice)
                                                          HAITIAN BRIDGE ALLIANCE
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                                                          Attorneys for Plaintiffs
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        PLAINTIFFS’ NOTICE OF MOT. & MOT. TO PRESERVE STATUS AND RIGHTS UNDER SECTION 705
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2                                              INTRODUCTION

 3            This case challenges, inter alia, Defendants’ decisions to “vacate” the January 17, 2025

 4   extension of Temporary Protected Status (“TPS”) for Venezuela and subsequently terminate TPS for

 5   nearly 350,000 Venezuelan TPS holders who first qualified for TPS protection under the 2023

 6   designation. This Court granted Plaintiffs’ motion to postpone both decisions on March 28, 2025.

 7   Defendants moved to stay that order. After this Court and the Ninth Circuit denied Defendants’

 8   motion, the Supreme Court granted a stay in a two-paragraph ruling issued on May 19, 2025. This

 9   motion arises in light of the second paragraph of the Supreme Court’s ruling which states:

10            This order is without prejudice to any challenge to Secretary Noem’s February 3, 2025
11            vacatur notice insofar as it purports to invalidate EADs, Forms I-797, Notices of Action, and
              Forms I-94 issued with October 2, 2026 expiration dates. See 8 U. S. C. § 1254a(d)(3).
12
     Ex. A.
13
              Plaintiffs seek to prevent irreparable harm to the individuals identified in that second
14
     paragraph, including Freddy Rivas, other NTPSA members who received TPS-related documents
15
     under the January 17, 2025 extension, and any other TPS holders who did so as well. See First
16
     Amended Complaint (“FAC”) ¶¶ 19, 71. Section 1254a(d)(3) states “[i]f the Attorney General
17
     terminates the designation of a foreign state … such termination shall only apply to documentation
18
     and authorization issued or renewed after the effective date of the publication of notice.” In other
19
     words, this provision of the TPS statute prohibits the government from abrogating the validity of
20
     already-issued TPS documents or otherwise refusing to honor documents it has issued with end dates
21
     after a termination takes effect.
22
              Thus, the plain language of the provision the Supreme Court cited makes clear that Secretary
23
     Noem exceeded her authority by purporting to invalidate documents the agency had already issued
24
     pursuant to the January 17 extension. Even when the government terminates a TPS designation
25
     lawfully, the statute clearly provides that termination “shall only apply to documentation and
26
     authorization issued or renewed after the effective date of the publication of notice.” Id. (emphasis
27
     added). Any attempt to alter the status or rights of those who obtained documentation before the
28
                                                1
         PLAINTIFFS’ NOTICE OF MOT. & MOT. TO PRESERVE STATUS AND RIGHTS UNDER SECTION 705
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 1   effective date of the termination exceeds statutory authority, yet that is precisely what Secretary

 2   Noem purported to do. Moreover, although her decision references the reliance interests arising from

 3   Secretary Mayorkas’s January 17 extension generally, there is no indication that the government

 4   ever considered the unique reliance interests of those who availed themselves of the January 17,

 5   2025 extension, paid renewal fees, and thereby lawfully acquired documentation reflecting their

 6   status and rights under it.

 7           This Court has authority under Section 705 to preserve the “status and rights” reflected in

 8   those documents, including because the Supreme Court’s stay ruling expressly was “without

 9   prejudice” to Plaintiffs seeking this narrowly tailored relief. Although the Supreme Court’s stay

10   ruling contains no reasoning, and has no precedential effect, two features of it provide some

11   guidance. First, by singling out a subset of individuals who could apply for interim relief, the stay

12   ruling is inconsistent with the sweeping jurisdictional arguments Defendants advanced before both

13   this Court and the Supreme Court. Defendants argued to the Supreme Court that the TPS “statute

14   commits to the Secretary’s unreviewable authority any and all determinations concerning TPS

15   designation, extension, and termination.” See Ex. B at 16. If the Supreme Court had accepted that

16   position, then the Secretary’s decision to cancel TPS documentation issued in violation of Section

17   1254a(d)(3) would be entirely unreviewable. But the Supreme Court clearly did not accept that

18   argument, as its ruling was “without prejudice” to a challenge to the “vacatur notice insofar as it

19   purports to invalidate EADs, Forms I-797, Notices of Action, and Forms I-94 issued with October 2,

20   2026 expiration dates.” See Ex. A. In other words, to the extent this Court can take any guidance

21   from the Supreme Court’s cursory ruling, it suggests that a jurisdictional basis exists to “challenge []

22   Secretary Noem’s February 3, 2025 vacatur notice,” and, moreover, that at least some individuals

23   may seek immediate interim relief on that basis.

24           Second, the stay ruling’s focus on those TPS holders who had already acquired

25   documentation establishing their status or rights under the January 17 extension suggests that the

26   Court gave some weight to Defendants’ argument that interim relief under Section 705 should be

27   limited to “preserv[ing] status or rights.” See Ex. C at 12 (arguing that “Section 705 … authoriz[es]

28   interim relief only ‘to the extent necessary to prevent irreparable injury’ and … “to preserve status or
                                                       2
         PLAINTIFFS’ NOTICE OF MOT. & MOT. TO PRESERVE STATUS AND RIGHTS UNDER SECTION 705
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 1   rights”); Ex. B at 32 (relief available under Section 705 “to the extent necessary to prevent

 2   irreparable injury” in order to, inter alia, “preserve status or rights”). Because the stay ruling

 3   contains no reasoning, it is impossible to ferret out whether the Court took this approach based on a

 4   textual reading of Section 705, its weighing of the balance of the equities, or simply in the exercise

 5   of its inherent discretion. Whatever the reasoning, individuals who already received TPS-related

 6   documentation pursuant to the January 17 extension (i.e., those individuals carved out in the second

 7   paragraph of the Court’s stay ruling) can seek relief even under the Government’s position before

 8   the Supreme Court that interim relief should be limited to preserving status or rights. Plaintiffs

 9   therefore seek this emergency relief on their behalf.

10                                      STATEMENT OF THE ISSUE

11          Should the Court recognize the continuing validity of TPS-related documentation issued

12   pursuant to the January extension pending further litigation in this case in order to preserve the status

13   and rights of individuals who received such documents, under 5 U.S.C. Section 705?

14                              STATEMENT OF THE RELEVANT FACTS

15          Plaintiffs will not repeat the facts relevant to this case in general, as they are set forth in this

16   Court’s order granting postponement under Section 705. See Dkt. 93 at 3-13. For purposes of this

17   Motion in particular, the pertinent facts are that the January 17, 2025 extension issued by Secretary

18   Mayorkas opened a registration process whereby “[e]xisting TPS beneficiaries . . . who wish to

19   extend their status through October 2, 2026” could apply to obtain an extension of their work

20   authorization and lawful status through that date. See, e.g., 90 Fed. Reg. 5961, 5961­62; FAC

21   ¶¶ 55­59. Some Venezuelan TPS holders, including at least one of the individual Plaintiffs in this

22   case and other NTPSA members, received documents through that process. When Secretary Noem

23   vacated the January 17 extension, she also purported to “invalidate EADs; Forms I-797, Notice of

24   Action (Approval Notice); and Forms I-94, Arrival/Departure Record (collectively known as TPS-

25   related documentation) that have been issued with October 2, 2026 expiration dates under the

26   [extension] notice,” and to “rescind[]” automatic EAD extensions provided under the notice. 90 Fed.

27   Reg. 8805, 8807; see also FAC at ¶ 71 (explaining the vacatur notice “invalidates employment

28   authorization and approval notices already granted, and cancels the ongoing processing of
                                                     3
         PLAINTIFFS’ NOTICE OF MOT. & MOT. TO PRESERVE STATUS AND RIGHTS UNDER SECTION 705
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 1   applications already filed”), id. (quoting vacatur notice, which states “pursuant to this vacatur the

 2   automatic EAD extensions provided in the [January 2025 Extension] are hereby rescinded”).

 3                                                ARGUMENT

 4   I.       PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS.

 5            The Secretary’s decision to invalidate documentation is in excess of statutory authority and

 6   not in accordance with law, for at least two reasons.

 7            First, Section 1254a(d)(3) states “[i]f the Attorney General terminates the designation of a

 8   foreign state … such termination shall only apply to documentation and authorization issued or

 9   renewed after the effective date of the publication of notice.” Yet Defendants’ vacatur notice

10   purported to invalidate documentation issued before the effective date of the termination notice. As

11   Defendants themselves recognized, some individuals had already received documents approving an

12   extension of their TPS under the January 17, 2025 extension at the time Secretary Noem purported

13   to vacate it. Ex. B at p. 9 n.7. Others, like Plaintiff Freddy Rivas, had applied (and paid the relevant

14   fees) and received a Notice of Action automatically extending their TPS-related work authorization

15   under the extension, but not yet been given proof of a right to reside in the form of an I-94. See Dkt.

16   18 (Rivas Decl.) ¶ 12 (describing application and receipt of 540 day extension on his employment

17   authorization). The Supreme Court’s ruling suggests that Secretary Noem’s attempt to invalidate

18   these validly-issued documents was unlawful, 2 and this Court retains authority to “preserve status or

19   rights,” 5 U.S.C. section 705, for individuals like Plaintiff Mr. Rivas, because Defendants have acted

20   “in excess of statutory jurisdiction, authority, or limitations.” See 5 U.S.C. § 706(2)(c); see also In re

21

22   2
       There should be no dispute that the Supreme Court’s ruling invites a challenge to the invalidation
23   of both categories of documentation, not just a challenge limited to those who received proof of TPS
     status. The ruling expressly references “EADs” and “Forms I-94 issued with October 2, 2026
24   expiration dates”—documents received by individuals whose applications were approved under the
     January 17, 2025 extension—as well as “Forms I-797, Notices of Action”—which includes receipt
25   notices granting automatic extensions of TPS-related work authorization that were received by
     individuals who applied to re-register under the extension but had not yet received final approval.
26   USCIS issues “numerous types of Form I-797[s],” including Form “I-797, Notice of Action,” which
     is “[i]ssued to communicate receipt or approval of an application or petition.” See Form I-797: Types
27   and Functions, at https://www.uscis.gov/forms/filing-guidance/form-i-797-types-and-functions. The
     Supreme Court’s reference to “Forms I-797” and “Notices of Action” in the plural makes clear that
28   the invalidation of the several varieties of these documents raise similar concerns.
                                                        4
          PLAINTIFFS’ NOTICE OF MOT. & MOT. TO PRESERVE STATUS AND RIGHTS UNDER SECTION 705
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 1   Border Infrastructure Envtl. Litig., 915 F.3d 1213, 1222 (9th Cir. 2019) (the right of review under

 2   the APA includes a right to judicial review of “legal question[s] of statutory authority”).

 3          Second, the government’s attempt to “rescind” facially-valid government documents

 4   constitutes arbitrary agency action in violation of the APA, including because it contravenes the

 5   reasonable reliance interests that individuals gain upon receipt of government documents. See

 6   generally DHS v. Regents of the Univ. of Cal., 591 U.S. 1, 30 (2020) (reversing DHS decision to end

 7   DACA program for failure to consider reliance interests). The Ninth Circuit has held that when

 8   individuals seek an immigration benefit, they obtain a “vested right” in adjudication of that benefit

 9   that warrants consideration as a reliance interest. Ixcot v. Holder, 646 F.3d 1202, 1213 (9th Cir.

10   2011) (holding application of narrower rule was “impermissibly retroactive … when applied to an

11   immigrant … who applied for immigration relief prior to [the new rule’s] effective date,” because

12   those who applied gain a “vested right” in their application). Those who “availed” themselves of

13   rights conferred under the January 17, 2025 extension had justified “expectations above the level of

14   hope” that the status and rights that extension conferred would not be rescinded. CRVQ v. USCIS,

15   2020 WL 8994098, at *7 (C.D. Cal. Sept. 24, 2020) (applying rule against retroactive application as

16   to employment authorization); see also Montoya v. Holder, 744 F.3d 614, 616 (2014) (“Whether a

17   right has ‘vested’ is therefore primarily determined by an individual’s actions—the inquiry looks to

18   whether a person has ‘availed’ himself of the right, or ‘took action that enhanced [its] significance to

19   him in particular.’”) (citations omitted, emphasis in original omitted). Here, while the Secretary

20   purported to take some steps to ameliorate the harms at issue, 90 Fed. Reg. at 8807, her actions

21   nonetheless resulted in the dramatic impairment of the vested rights of those who sought benefits

22   under the January 17, 2025 extension.

23          Plaintiffs are likely to succeed on these claims, and the Court should therefore issue an Order

24   preserving the rights conferred by the January 17, 2025 extension to prevent irreparable harm to

25   those who availed themselves of those rights. Indeed, this aspect of the challenged decisions gives

26   rise to a separate and independent ground to find them unlawful, apart from those already recognized

27   by this Court. Furthermore, the relief sought by this Motion falls within the scope of the FAC. See

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                                               5
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 1   FAC Prayer for Relief at 70 (requesting “any other and further relief that this Court may deem fit

 2   and proper”).

 3   II.       VENEZUELAN TPS HOLDERS WHO RECEIVED TPS DOCUMENTATION
               PURSUANT TO THE JANUARY 17 EXTENSION FACE UNIQUE IRREPARABLE
 4             HARM, AND THE BALANCE OF EQUITIES AND PUBLIC INTEREST WEIGH
               EVEN MORE HEAVILY IN THEIR FAVOR.
 5
               The remaining factors courts must consider in a stay request under Section 705 “substantially
 6
     overlap with the [Winter] factors for a preliminary injunction,” Dkt. 93 at 30–31 (quoting Immigrant
 7
     Legal Res. Ctr. v. Wolf, 491 F. Supp. 3d 520, 529 (N.D. Cal. 2020)), and warrant relief under Section
 8
     705 here. Plaintiffs presented substantial evidence that every Venezuelan TPS holder faces
 9
     irreparable injury from Defendants’ actions. While the Supreme Court obviously did not find that
10
     Plaintiffs’ showing warranted a Section 705 postponement for all TPS holders, it left to this Court to
11
     decide whether at least the subset of individual who had already received TPS-related documents
12
     pursuant to the January 17 extension should receive interim relief. 8 U.S.C. § 1254a(d)(3).
13
               For this subset of TPS holders, the irreparable harm from allowing the challenged decisions
14
     to take effect weighs particularly heavily because it would violate fundamental reliance interests.
15
     Notably, five years ago the Supreme Court reversed the Secretary’s decision to end the DACA
16
     program in substantial part due to a failure to account for reliance interests. Regents, 591 U.S. at
17
     30­31. Moreover, as noted above, individuals who received documents from the federal government
18
     extending their right to live and work in this country until a particular date have a “vested right” in
19
     such benefits, not least because they took affirmative steps to apply for those benefits and paid the
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     corresponding fees. Fernandez-Vargas v. Gonzales, 548 U.S. 30, 37 (2006). On the other side of the
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     ledger, the Supreme Court at least suggested that the government’s interest should not foreclose
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     these individuals from seeking interim relief. Cf. California v. HHS, 281 F. Supp. 3d 806, 831–32
23
     (N.D. Cal. 2017) (finding “the public interest favors the granting of a preliminary injunction”
24
     because the “public interest is served when administrative agencies comply with their obligations
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     under the APA”) (quoting N. Mariana Islands v. United States, 686 F. Supp. 2d 7, 21 (D.D.C.
26
     2009)).
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                                                  6
           PLAINTIFFS’ NOTICE OF MOT. & MOT. TO PRESERVE STATUS AND RIGHTS UNDER SECTION 705
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 1                                              CONCLUSION

 2          The Supreme Court left it to this Court to decide whether to grant interim relief to the subset

 3   of the Venezuelan TPS holders it mentioned in the second paragraph of its stay ruling. For the

 4   reasons stated above, Plaintiffs respectfully request that the Court issue an order preserving the

 5   status and rights conferred by TPS-related documentation already issued pursuant to the January 17,

 6   2025 extension.

 7
      Date: May 21, 2025                                  Respectfully submitted,
 8

 9                                                        ACLU FOUNDATION
                                                          OF NORTHERN CALIFORNIA
10
                                                           /s/ Emilou MacLean
11                                                        Emilou MacLean
12                                                        Michelle (Minju) Y. Cho
                                                          Amanda Young
13                                                        ACLU FOUNDATION
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                                                          Attorneys for Plaintiffs
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        PLAINTIFFS’ NOTICE OF MOT. & MOT. TO PRESERVE STATUS AND RIGHTS UNDER SECTION 705
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 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that on May 21, 2025, I caused the foregoing to be electronically filed with

 3   the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

 4   (NEF) to all counsel of record.

 5
                                                         ACLU FOUNDATION
 6                                                       OF NORTHERN CALIFORNIA
 7
                                                         /s/ Emilou MacLean
 8                                                       Emilou MacLean

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        PLAINTIFFS’ NOTICE OF MOT. & MOT. TO PRESERVE STATUS AND RIGHTS UNDER SECTION 705
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